    AQ 93C (08/18) Warrant by Telephone or Oilier Reliable Electronic Means                      O Original                    D



                                               United States District Court °,m)CTC™noFGum
                                                                                  for the

                                                                              District of Guam                                     APR 0fi 2021 ^Y
                      In the Matter of the Search of                                                                           EANNE G. QU1NATA
                 (Briefly describe theproperty to be searched                                                                  n Pff* 0FC0URT
                                                                                                                               V'--<«1 \V\

                  or identify the person by name and address)                               Case No.
        Information associated with WhatsApp account mobile
       number 671-788-2231 stored at WhatsApp, a company in                                                            -00003
                 Menlo Park, CA (See Attachment A)

                     WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

    To:      Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
    of the following person or property located in the                              District of                 Guam
    (identify theperson or describe theproperty to be searched and give its location)'.
      Information associated with WhatsApp account mobile number 671-788-2231 stored at WhatsApp, a company in Menlo Park,
      CA. Property further described in Attachment A.




             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
    described above, and that such search will reveal (identify the personor describe theproperty to be seized):
      See Attachment B which is incroporated herein.




             YOU ARE COMMANDED to execute this warrant on or before                                      January 25, 2021              (not to exceed N days)
          D in the daytime 6:00 a.m. to 10:00 p.m.                 $ at any time in the day or night because good cause has been established.
            Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
    person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
    property was taken.
              The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
    as required by law and promptly return this warrant and inventory to                         Michael J. Bordallo, United States Magistrate Judge            .
                                                                                                              (United States Magistrate Judge)

             ^Ursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
    § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
    property, will be searched or seized (check the appropriate box)
        D for 30 days (not to exceed30) L~J until, the facts justifying, the later specific date of                                                             .


    Date and time issued: rb)/1\ 17nZ-\                      H'-"*r»& P*^
                                                                                                                      Judge's signature

    City and state:      Hagatna, Guam                                                            MICHAEL J. BORDALLO, U.S. Magistrate Judge
                                                                                                                    Printed name and title

                                                                                                        I \
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J
AO 93C (08/18) Warrant by Telephone or Other Reliable ElectronicMeans (Page 2)

                                                                            Return

Case No.:                                Date and time warrant executed!                 Copy of warrant and inventory left with:

 ^k-H^o -3^C*ji)
Inventory made in the presence of:
                                            v/it
inventory of the property taken and name(s) of any person(s) seized:

     7^,6 -fikb- H^r- ixcUUti
          ^ ^ZObOO^S^SlOleOl. flf [137.0 '<*)




                                                                         Certification




        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date: L\)(9/Zo'Z.\
                                                                                                Executing officer's signature



                                                                                                V Printed nam&and title




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                                      ATTACHMENT A


                        DESCRIPTION OF ITEMS TO BE SEARCHED


         This warrant applies to information associated with the WhatsApp Inc. ACCOUNT

mobile number 671-788-2231 that is stored at premises owned, maintained, controlled, or

operated by WhatsApp Inc., a company headquartered at 1601 Willow Road, Menlo Park, CA

94025.




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                                        ATTACHMENT B


                      LIST OF ITEMS TO BE SEIZED AND SEARCHED


Information to be disclosed by WhatsApp.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of WhatsApp, regardless of whether such information is located within or

outside of the United States, and including any messages, records, files, logs, or information that

have been deleted but are still available to WhatsApp, or have been preserved pursuant to a

request made under 18 U.S.C. § 2703(f), WhatsApp is required to disclose the following

information to the government for each account or identifier listed in Attachment A:

•   Information, other than information related to account creation and start of service, should be

    limited to account information and activity between 11/16/2020 and 11/20/2020.

•   All records or other information regarding the identification of the account, to include full

    name, physical address, telephone numbers and other identifiers, records of session times and

    durations, the date on which the account was created, the length of service, the IP address

    used to register the account, log-in IP addresses associated with session times and dates,

    account status, e-mail addresses provided during registration, methods of connecting, log

    files, and means and source of payment (including any credit or bank account number);

•   The types of service utilized by the user;

•   All records pertaining to communications between WhatsApp and any person regarding the

    account, including contacts with support services and records of actions taken.

        The Provider is hereby ordered to disclose the above information to the government

within 14 days of issuance of this warrant.




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Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. §§ 2422(b) and 2 involving Christopher De Leon

Guerrero since 11/16/2020, including, for each account or identifier listed on Attachment A,

information pertaining to the following matters:

           (a) Communication with 671-685-4928 on any messaging applications or forums

               regarding the enticement of a minor.

           (b) The identity of the person(s) who created or used the user ID, including records

               that help reveal the whereabouts of such person(s).

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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